                         IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                  SOUTHERN DIVISION

 S.J., T.J., and S.L.J., Minors, by their Guardian
 ad Litem, LINDSEY JOHNSON, SCOTT
 JOHNSON, and LINDSEY JOHNSON,

       Plaintiffs,

       vs.                                                    CASE NO. 7:21-cv-00188-D

 LENDLEASE (US) PUBLIC PARTNERSHIPS
 LLC; ATLANTIC MARINE CORPS
 COMMUNITIES LLC; and AMCC
 PROPERTY MANAGEMENT LLC,

       Defendants.

                                 CERTIFICATE OF SERVICE

This is to certify that on March 13, 2023 Plaintiffs’ Fed. R. Civ. P. 26(a)(2) Disclosure was
served by electronic mail upon the following counsel:

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Dated: March 14, 2023                Respectfully submitted,

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